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 1                                UNITED STATES DISTRICT COURT
 2                                         DISTRICT OF NEVADA
 3                                                   ***
 4     UNITED STATES OF AMERICA,                            Case No. 2:14-cr-00099-APG-PAL
 5                            Plaintiff,
                                                            ORDER TEMPORARILY STAYING
 6           v.                                             CASE
 7     VON WHITE,
 8                            Defendant.
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10           On June 27, 2016, the Supreme Court granted certiorari in Beckles v. United States, Case

11    Number 15-8544, to decide, in relevant part, whether the holding in Johnson v. United States, 135

12    S. Ct. 2551 (2015) applies to the residual clause of the career offender guideline in United States

13    Sentencing Guidelines (“U.S.S.G.”) § 4B1.2(a)(2), and if so, whether Johnson’s invalidation of

14    the residual clause applies retroactively on collateral review. On November 28, 2016, the

15    Supreme Court heard oral argument in Beckles and the case was submitted for review. Given this

16    development and Beckles’s direct relevance to the pending motion in this case, I will stay all

17    proceedings in this case pending the Supreme Court’s decision in Beckles.

18           A district court has the inherent power to stay cases to control its docket and promote the

19    efficient use of judicial resources. Landis v. N. Am. Co., 299 U.S. 248, 254-55 (1936);

20    Dependable Highway Exp., Inc. v. Navigators Ins. Co., 498 F.3d 1059, 1066 (9th Cir. 2007).

21    When determining whether to stay a case pending the resolution of another case, I must consider

22    (1) the possible damage that may result from a stay, (2) any “hardship or inequity” that a party

23    may suffer if required to go forward, (3) “and the orderly course of justice measured in terms of

24    the simplifying or complicating of issues, proof, and questions of law” that a stay will engender.

25    Lockyer v. Mirant Corp., 398 F.3d 1098, 1110 (9th Cir. 2005). I find that a Landis stay is

26    appropriate here.

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 1            The core of the defendant’s argument is that (1) the Supreme Court’s decision in Johnson

 2    applies to the residual clause of the career offender guideline, (2) Johnson’s invalidation of the

 3    residual clause applies retroactively on collateral review, and (3) thus the defendant is entitled to

 4    collateral relief pursuant to 28 U.S.C. § 2255. The Beckles decision is almost certain to determine

 5    whether Johnson can provide collateral relief to defendants who are challenging their career

 6    offender guidelines sentences. Therefore, the Supreme Court’s decision in Beckles is likely to be

 7    dispositive of this case, or at least dispositive of significant issues.

 8            I have numerous cases in which defendants have filed § 2255 motions challenging their

 9    career offender guidelines sentence and seeking collateral relief based on Johnson and its

10    progeny. Staying this case pending the Supreme Court’s decision in Beckles will permit the

11    parties to present arguments and evidence in the context of complete and resolved precedent, and

12    it will allow me to evaluate the claims in light of this legal authority. Consequently, a stay

13    pending the decision in Beckles would simplify the proceedings and promote the efficient use of

14    the parties’ and the court’s limited resources.

15            Resolving the defendant’s motion before the Supreme Court decides the issues presented

16    in Beckles could also impose a hardship on both parties. A stay will prevent unnecessary and

17    premature briefing on the issues before the parties have the benefit of the Supreme Court’s legal

18    analysis and decision.

19            The only potential damage that may result from a stay is that the defendant and the

20    Government will have to wait longer for resolution of this case. But a delay would also result

21    from the new briefing that would very likely be needed after the Supreme Court issues its

22    decision in Beckles. So a stay pending the decision will not necessarily lengthen the life of this

23    case. Thus, any possible damage that a stay may cause is minimal.

24            The stay pending the decision will also not be indefinite. The length of this stay is tied to

25    the Supreme Court’s issuance of its decision in Beckles, a case which has already been argued and

26    submitted to the Court and will be decided this term. Once the decision is issued, either party

27    may move to lift the stay.

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 1           IT IS THEREFORE ORDERED this case is STAYED until the Supreme Court issues a

 2    decision in Beckles v. United States, Case Number 15-8544. Once the decision issues, any party

 3    may move to lift the stay.

 4           DATED this 21st day of December, 2016.

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 6                                                       ANDREW P. GORDON
                                                         UNITED STATES DISTRICT JUDGE
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